Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 1 of 18 PageID #: 129



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11
                                                           Bankr. Case No. 16-11501-CSS
MAXUS ENERGY CORPORATION, et al.,                          (Jointly Administered)

                       Debtors.

MAXUS LIQUIDATING TRUST,                                   Adv. Proc. No. 18-50489-CSS

                       Plaintiff,
               V.

YPF S.A., YPF INTERNATIONALS.A., YPF
HOLDINGS, INC. , CLH HOLDINGS, INC. ,                      Misc. No. 19-51 -RGA
REPSOL, S.A., REPSOL EXPLORACION, S.A.,                    Misc. No. 19-52-RGA
REPSOL USA HOLDINGS CORP., REPSOL                          (Consolidated)
E&P USA, INC., REPSOL OFFSHORE E&P
USA, INC., REPSOL E&P T&T LIMITED, and
REPSOL SERVICES CO.,

                       Defendants.


                                      MEMORANDUM

Brian E. Farnan, Esq. , Michael J. Farnan, Esq. , Farnan LLP, Wilmington, DE, attorneys for
plaintiff Maxus Liquidating Trust.

Adam G. Landis, Esq. , Matthew B. McGuire, Esq. , Landis Rath & Cobb LLP, Wilmington, DE,
attorneys for YPF Defendants.

Robert J. Denhey, Esq., Curtis S. Miller, Esq., Daniel B. Butz, Esq., Morris, Nichols, Arsht &
Tunnell LLP, Wilmington, DE; Edward Soto, Esq. , Weil, Gotshal & Manges LLP, Miami, FL;
and Robert Lemmons, Esq. , Weil Gotshal & Manges LLP, New York, NY, attorneys for Repsol
Defendants.




September   lS_,2019
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 2 of 18 PageID #: 130




       Pending before the Court are two motions for leave to file interlocutory appeal from a

February 15, 2019 Bankruptcy Court order (Adv. D.I. 108) 1 ("Interlocutory Order") filed by the

YPF Defendants (Misc. No. 19-51-RGA, D.I. 1) ("YPF Mot.") and the Repsol Defendants (Misc.

No. 19-52-RGA, D.I. 1) ("Repsol Mot.," and, together with the YPF Mot., "Motions for Leave").

The Interlocutory Order denied motions to dismiss the complaint (Adv. D.I. 1) in the above-

captioned adversary proceeding ("Adversary Proceeding") (Adv. D.I. 50, 57) ("Motions to

Dismiss") filed by both the YPF Defendants and the Repsol Defendants for the reasons set forth

in the Bankruptcy Court's accompanying letter opinion (Adv. D.I. 107) ("Opinion" or "Op.").

Plaintiff Maxus Liquidating Trust ("Trust") has filed its opposition, and the Motions for Leave

are fully briefed. (D.I. 7, 8, 9).4 For the reasons set forth below, the Court will deny the Motions

for Leave.

I.     BACKGROUND

       A.      Parties

       The dispute framed by the Complaint centers on a series of environmental contaminations

that have occurred over several decades at various sites of the Debtors' business operations, the

most significant being the Diamond Alkali site located on the Passaic River in New Jersey.

Debtor Maxus is a successor to Diamond Alkali Company and its parent Diamond Shamrock

Corporation. These companies and various successors operated a number of industrial sites


1
  The docket of the Adversary Proceeding, Maxus Liquidating Trust v. YPF SA., et al. , Adv. No.
18-50489-CSS (Bankr. D. Del.), is cited herein as "Adv. D.I. _ ." The Chapter 11 docket, In re
Maxus Energy Corp., et al. , No. 16-11501-CSS (Bankr. D. Del.), is cited herein as "B.D.I. _."
The docket of a related adversary proceeding discussed herein, New Jersey Department of
Environmental Protection v. Occidental Chemical Corp ., et al., Adv. No. 16-510250-CSS
(Bankr. D. Del.) is cited "OCC Adv. D.I. _ ."
4
  On March 14, 2019, the Court entered an order consolidating Misc. No. 19-51-RGA with Misc.
No. 19-52-RGA and directing all future filings to be filed only in Misc. No. 19-51-RGA. (See
Misc. No. 19-51-RGA, D.I. 4). The consolidated docket is cited herein as "D.I.     "
                                                 2
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 3 of 18 PageID #: 131



throughout the U.S . In 1986, an affiliate of Occidental Chemical Corporation purchased

Diamond Shamrock' s chemicals business through a stock purchase, and the affiliate thereafter

merged into Occidental. Importantly, Diamond Shamrock, which was renamed Maxus in 1987,

agreed to indemnify Occidental from and against certain environmental liabilities. (Compl.        ,r,r
41 , 44-45). In 1995, YPF, parent of YPF Holdings, utilized a leveraged buyout in order to obtain

control of Maxus through acquisition of its common stock. Following the leveraged buyout, a

significant amount of Maxus ' foreign assets were transferred to YPF. In 1996 and 1997, Maxus

sold foreign subsidiaries to YPFI, a foreign subsidiary of YPF. (Compl.   ,r,r 59, 86, 90, 93).   In

1999, Repsol acquired a majority ownership of YPF, thereby granting Repsol an indirect

ownership interest in Maxus. Repsol was YPF ' s controlling shareholder from 1999 to 2012.

Repsol allegedly caused Maxus to sell assets to third parties in 1999 and 2000 and caused the

sale of former Maxus subsidiaries to Repsol affiliates and third parties in 2001 and 2002. During

Repsol ' s ownership of YPF, certain Debtors entered into settlement agreements amongst

themselves and with Repsol in 2007 and 2009, and with YPF in 2008. (Compl.        ,r,r 110, 114,
119-121 , 139-140, 148). Upon expropriation ofRepsol' s interest by the Argentine government

in 2012, both the ownership relationship between Repsol and YPF and Repsol' s indirect

affiliation with Maxus were severed. (Compl.   ,r,r 188-191).
       B.      New Jersey Litigation

       In 2005 , the State of New Jersey Department of Environmental Protection (" State") sued

Maxus, Repsol, and Occidental for environmental clean-up costs resulting from damage and

pollution of the Passaic River ("New Jersey Litigation"). In May of 2008, Occidental filed

cross-claims against Maxus for various causes of action including breach of contract, and against

YPF and Repsol directly and derivatively for causes of action including alter ego, fraudulent

transfers, unjust enrichment, and civil conspiracy. In December 2013 , the State settled with the

                                                3
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 4 of 18 PageID #: 132



non-Occidental Defendants. Pursuant to the settlement, "all claims that the State had asserted

against Repsol, YPF, YPF International, YPF Holdings, CLH Holdings, Maxus, Tierra, and

Maxus International were dismissed in exchange for a $130 million payment to the State."

(Occidental Adv. D.I. 28 at 139). Additionally, the settlement provided for certain claims

against Occidental to be released by the State. (Id.) In December 2014, the State released all

remaining claims against Occidental pursuant to a consent judgment in exchange for a payment

of $190 million. (Id. at 1 40).

        While the claims brought by the State were resolved by these settlements, the parties

cross-claims continued on in the New Jersey Court. After ruling on various motions to dismiss

and summary judgment, the New Jersey Court ordered a trial of Occidental' s claims that YPF

was the alter ego of one or more Debtor entities. 6 The trial was set to begin on Monday, June 20,

2016.

        C.     The Bankruptcy

        On the evening of June 17, 2016 ("Petition Date"), Debtors filed their petitions under

Chapter 11 of the Bankruptcy Code. Creditors in the bankruptcy proceedings filed proofs of

claim asserting that the Debtors had caused in excess of $13 billion in environmental damages as

a result of their and their predecessors ' toxic discharges, and Occidental is the Debtors ' largest

unsecured creditor. (B.D.I. 2,120). The Chapter 11 petitions stayed the New Jersey Litigation

indefinitely. Following the Petition Date, Occidental immediately removed the New Jersey

Litigation to the Bankruptcy Court. 7 On July 20, 2016, Repsol moved to have the Bankruptcy


6
  The New Jersey Court granted summary judgment in Repsol's favor and dismissed cross-
claims that Occidental brought against Repsol seeking to hold it liable, along with YPF, as an
alter ego of Maxus. Dismissal was on the specific ground that Occidental did not establish the
need to pierce the veil separating YPF from Repsol, given that YPF had the wherewithal to pay
Occidental' s claim. (Adv. D.I. 34, Ex. U, at 10). That ruling is on appeal.
7
  On June 20, 2016, Occidental commenced an adversary proceeding by removing the New
Jersey Litigation to the United States Bankruptcy Court for the District of New Jersey.
                                                 4
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 5 of 18 PageID #: 133



Court remand back to New Jersey all of their claims involving Occidental, including any claims

related to Repsol ' s alter ego conduct. (Occidental Adv. D.I. 27, 28). YPF opposed remand,

talcing the position that any and all claims seeking alter ego recoveries against the Debtors'

prepetition shareholders now belonged to the Debtors, not Occidental, by virtue of the

bankruptcy petitions: "The Remand Motion mischaracterizes the [removed] Claims and

disregards the Debtors' exclusive jurisdiction over these and all other pre-petition, general claims

originating out of the [New Jersey Litigation] ." (Occidental Adv. D.I. 33 , ,r 1 (opposing

Repsol ' s motion for remand)). YPF argued that, post-petition, "creditors [like Occidental] lack

standing to assert claims that are ' property of the estate,"' and that "if a claim is a general one,

with no particularized injury arising from it, that may be asserted by any creditor, only a debtor' s

estate may bring it." (Id. at ,r 2). On November 15, 2016, the Bankruptcy Court issued its

opinion agreeing with YFP and holding that "the Occidental [alter-ego] Claims are, in fact,

property of the bankruptcy estate and the proper party to bring them is the Debtors." In re

Maxus Energy Corp., 560 B.R. 111 , 114 (Bankr. D. Del. 2016) ("Abstention Opinion").

        Occidental sought reconsideration, arguing that it retained co-extensive authority to

pursue its own alter ego claims against both YPF and Repsol. The Bankruptcy Court disagreed

and denied reconsideration in a decision and order dated August 2, 2017. In that order, the

Bankruptcy Court found that, "notwithstanding the individualized nature of the injury or cause of

action, to the extent the other creditors and the debtor could pursue claims based upon the same

theory, the claim in question should be considered general, and, therefore, property of the

estate." In re Maxus Energy Corp., 571 B.R. 650, 657 (Bankr. D. Del. 2017) ("Clarification

Opinion") (emphasis in original) (citing Emoral Inc. v. Diacetyl (In re Emoral, Inc.), 740 F.3d


Occidental then moved in the New Jersey Bankruptcy Court to transfer the venue of the New
Jersey Litigation to the United States Bankruptcy Court for the District of Delaware. On June
28, 2016, the New Jersey Bankruptcy Court granted Occidental' s motion.
                                                5
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 6 of 18 PageID #: 134



875 (3d Cir. 2014)). No party appealed the Bankruptcy Court' s determinations. The Trust

argues that these determinations established a "bright line law of the case" that "even if the

Debtors' prepetition creditors such as Occidental may have had trial-ready prepetition alter ego

claims, the Debtors were the only parties who could assert such claims for the benefit of all

creditors." (D.I. 7 at 6).

        The Debtors proposed a plan of liquidation anchored in prosecuting claims against

Defendants. (Compl.     ,r,r 206, 211 ).   The Plan was structured to provide that the Trust would

bring a consolidated action, with any litigation recoveries to be distributed pursuant to a heavily

negotiated plan waterfall. (D.I. 7 at 7). The Debtors' proposed plan was confirmed on May 22,

2017 (B.D.I. 1460) ("Plan"). The Plan established the Trust and provided for the transfer of all

causes of action held by the Debtors and their estates against any of the YPF entities to the Trust.

(Plan, § I.A.217). No party appealed the order confirming the Plan.

        D.      Adversary Proceeding

        On June 14, 2018, the Trust filed the 130-page Complaint commencing the Adversary

Proceeding. The Complaint generally alleges a three-part strategy developed and implemented

by Defendants in the late 1990s and early 2000s to strip the Debtors of any meaningful assets

that could have been used to satisfy their environmental obligations and to transfer those assets

out of the U.S . The Complaint alleges that the Defendants used their corporate control over the

Debtors to ensure that those entities did not precipitate any event that would reveal the

environmental funding deficit, including through "drip-feed[ing]" the Debtors with barely

enough capital to meet their quarterly expenses. (Compl. at ,r 12). The Complaint further alleges

that, once the statutes of limitations had presumably passed on potential claims against them,

Defendants intended to cleanse their liability exposure in a U.S. bankruptcy proceeding over the

objection of all of the Debtors' environmental creditors. (Id. at ,r,r 170, 227). Count I of the

                                                      6
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 7 of 18 PageID #: 135



Complaint is a claim for alter ego liability, in which the Trust seeks to hold Defendants jointly

and severally liable (up to $14 billion) for all of the allowed proofs of claim filed by creditors

against the Debtors. Counts II through XXI seek to avoid alleged fraudulent transfers that

occurred between 1996 and 1997 (prior to Repsol ' s acquisition of YPF) and separate transfers

that occurred between 1999 to 2009 (during the period in which Repsol had a controlling interest

in YPF). Finally, the Trust asserts claims for unjust enrichment (Count XXII) and civil

conspiracy (Count XXIII).

       On October 12, 2018, Defendants filed motions to dismiss the Complaint in its entirety,

arguing that the Trust had not pleaded a single viable cause of action against them. Following

briefing, on January 22, 2019, the Bankruptcy Court heard oral argument. (Adv. D.I. 100). On

February 15, 2019, the Bankruptcy Court issued the Opinion and Interlocutory Order which

Defendants now seek leave to appeal. The Bankruptcy Court determined that, consistent with its

prior determinations, (1) the Trust could bring a single, consolidated claim against YPF and

Repsol for alter ego conduct including asset stripping, adverse domination, and failure to follow

corporate formalities, and that (2) the Trust could recover, among other damages, the damages

Occidental had been seeking in the New Jersey Litigation. (Op. at 3, 6-9). The Bankruptcy

Court also ruled that, with respect to the alleged transfers of all of the Debtors ' assets in the first

step of the alleged strategy, the Complaint (1) states viable fraudulent conveyance claims, and

(2) provided factual allegations that can warrant a determination that the relevant statutes of

limitations on those claims did not begin to run until the last act of Defendants ' coordinated

strategy - the planned filing of a bankruptcy proceeding. (Id. at 9-10).

       By the Motions for Leave, Defendants request that this Court consider their appeal on an

interlocutory basis and reverse and/or remand the Interlocutory Order.

II.     JURISDICTION AND STANDARD OF REVIEW

                                                    7
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 8 of 18 PageID #: 136



       This Court has jurisdiction to hear appeals "with leave of the court, from interlocutory

orders and decrees, of bankruptcy judges entered in cases and proceedings referred to the

bankruptcy judges under section 157 ofthis title." 28 U.S .C. § 158(a)(3). Section 158(a) does

not identify the standard district courts should use in deciding whether to grant such an

interlocutory appeal. See id. "Typically, however, district courts follow the standards set forth

under 28 U .S.C. § 1292(b), which govern interlocutory appeals from a district court to a court of

appeals." In re AE Liquidation, Inc ., 451 B.R. 343 , 346 (D. Del. 2011).

       Under the standards of § 1292(b), an interlocutory appeal is permitted only when the

order at issue (1) involves a controlling question of law upon which there is (2) substantial

ground for difference of opinion as to its correctness, and (3) if appealed immediately, may

materially advance the ultimate termination of the litigation. See 28 U.S .C. § 1292(b); Katz v.

Carte Blanche Corp ., 496 F.2d 747, 754 (3d Cir. 1974). Entertaining review ofan interlocutory

order under§ 1292(b) is appropriate only when the party seeking leave to appeal "establishes

exceptional circumstances [to] justify a departure from the basic policy of postponing review

until after the entry of final judgment." In re Del. & Hudson Ry. Co. , 96 B.R. 469, 472-73 (D.

Del. 1989), aff'd, 884 F.2d 1383 (3d Cir. 1989). In part, this stems from the fact that

" [p]iecemeal litigation is generally disfavored by the Third Circuit." In re SemCrude, L.P., 2010

WL 4537921 , at *2 (D. Del. Oct. 26, 2010) (citing In re White Beauty View, Inc. , 841 F.2d 524,

526 (3d Cir. 1988)). Further, leave for interlocutory appeal may be denied for "entirely unrelated

reasons such as the state of the appellate docket or the desire to have a full record before

considering the disputed legal issue." Katz, 496 F.2d at 754.

III.   DISCUSSION

       YPF asserts that its appeal of the Interlocutory Order involves two questions of law as to

which substantial ground for difference of opinion exists:

                                                  8
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 9 of 18 PageID #: 137



       Issue 1: Whether the Bankruptcy Court erred by holding that (i) alter ego is an
       independent cause of action under Delaware law, and that (ii) such claim can be pursued
       by the Trust as a separate cause of action to recover the Debtor's creditors ' claims;

       Issue 2: Whether the Bankruptcy Court erred by "expand[ing] the statute of limitations"
       from 2006 to the Petition Date for the Trust's (i) fraudulent transfer claims for transfers
       that were publicly disclosed in the SEC filings and that "occurred outside the operable
       statute of limitations," and (ii) untimely unjust enrichment and civil conspiracy claims.

(YPF Mot. at 6). Similarly, Repsol submits that review of the following questions of law:

       Issue 1: Whether the Bankruptcy Court erred in permitting the Trust to pursue a
       standalone, independent cause of action for alter ego.

       Issue 2: Whether the Bankruptcy Court erred by holding that the collapsing doctrine, as
       set forth in Tronox Inc. v. Kerr McGee Corp. (In re Tronox Inc.) , 503 B.R. 239, 271
       (Bankr. S.D.N.Y. 2013), could sweep Repsol into an alleged scheme in which Repsol
       was not present for the scheme's alleged genesis or its alleged completion, and where
       there were no allegations regarding the interconnectedness of the intermediate
       transactions that spanned a period of twenty years.

(Repsol Mot. at 5). Thus, Defendants each seek leave to raise on appeal alleged errors in the

alter ego and statute of limitations rulings. The Court will address each in turn.

A.     Controlling Question of Law as to Which There Is Substantial Ground for
       Difference of Opinion

       A controlling question of law is one that (1) "would be reversible error on final appeal"

or (2) is "serious to the conduct of the litigation, either practically or legally." Katz, 496 at 755.

"[O]n the practical level, saving of time of the district court and of expense to the litigants [has

been] deemed ... to be a highly relevant factor. " Id. (internal citation omitted). The

"controlling question of law" also must be one as to which there is "substantial ground for

difference of opinion." 28 U.S.C. § 1292(b). This calls for more than mere disagreement with

the ruling of the bankruptcy court. To satisfy this standard, "the difference of opinion must arise

out of genuine doubt as to the correct legal standard." Hulmes v. Honda Motor Co., 936 F. Supp.

195,208 (D.N.J. 1996), aff'd, 141 F.3d 1154 (3d Cir. 1998); see also In re Physiotherapy

Holdings, Inc., 2017 WL 6524524, at *6 (D. Del. Dec. 21, 2017) (same). Conflicting and

                                                   9
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 10 of 18 PageID #: 138



contradictory opinions can provide substantial grounds for a difference of opinion. White v. Nix,

43 F.3d 374, 378 (8th Cir. 1994). Additionally, the absence of controlling law on a particular

issue can constitute substantial grounds. Chase v. Manhattan Bank v. Iridium Africa Corp. , 324

F. Supp. 2d 540, 545 (D. Del. 2004). This factor is also met when "the bankruptcy court' s

decision is contrary to well-established law." In re Marvel Entm 't Grp., Inc., 209 B.R. 832, 837

(D. Del. 1997).

                  1.   Alter Ego Claim

       Defendants argue that the Opinion incorrectly held that "alter ego can constitute an

independent claim." (YPF Mot. at 9-10). Defendants argue that this is a controlling issue of law

because it would be reversible error on final appeal and also because it is contrary to well-

established law. Repsol argues that numerous cases hold that alter ego is a remedy, not a

substantive cause of action (Repsol Mot. at 8-11) and points out several cases that colloquially

use the phrase "alter ego claims." (Id. at 11-12). Repsol argues that the Bankruptcy Court

                                                 •
adopted this latter group of cases and allowed " Jargon and shorthand" to " substantively

transform the law into creating independent alter ego claims." (Id. at 11). Defendants argue that

this Court should pass on this issue before Defendants are forced to expend any resources on

discovery.

       The Trust argues that Defendants have selectively quoted the Opinion in order to present

an unfair reading of its holding, as the Bankruptcy Court actually stated that it "disagrees that

piercing the corporate veil or asserting a claim for alter ego is only a remedy and not an

independent cause of action. When coupled with allegations of another wrong, such as breach of

fiduciary duty or a fraudulent conveyance, alter ego can constitute an independent claim." (Op.

at 3). The Opinion framed the question as whether the bankruptcy estate can designate, as the

Trust did here, an overarching claim of "alter ego" to remedy a host of improper alter ego

                                                 10
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 11 of 18 PageID #: 139



conduct by a parent corporation, including asset stripping, that leaves a debtor without sufficient

capital to pay its creditors. The Opinion further clarified that, consistent with the law of the case,

the Trust could "collectively" recover damages on behalf of all creditors, including amounts

equal to the unpaid creditors' claims. As the Bankruptcy Court noted, "it would be inequitable to

have a collective proceeding and not to allow the creditors to proceed collectively." (Id.) The

Trust further asserts that the Opinion did not rely on cases that colloquially used the phrase "alter

ego claims" and did not use the phrase colloquially itself. Rather, the Opinion clearly insists that

the alter ego requires "allegations of another wrong, such as a breach of fiduciary duty or a

fraudulent conveyance." (Op. at 3).

       The Court agrees with the Trust that the extraordinary relief of interlocutory appeal is not

required to correct any terminological imprecision that may exist in the Opinion, which is not a

controlling question of law that the Court needs to address at this time.

               2.      Trust's Ability to Proceed in Collective Action

       Defendants further dispute that the Trust is the proper plaintiff in a collective action

seeking to impose alter ego liability on YPF and Repsol. YPF attacks the proposition that YPF

and Repsol can ever be held liable as the Debtors ' alter egos in a collective action. YPF

contends that the Trust's ability to proceed collectively on behalf of the Debtors and all of their

creditors is foreclosed by Caplin v. Marine Midland Grace Tr. Co., 406 U.S. 416 (1972), which

generally bars trustees from prosecuting individual claims of creditors. Conversely, the Trust

argues that YPF is wrong and should be judicially estopped from taking this position based on its

prior arguments.

        The Court finds no genuine disagreement as to the correct legal standard here. The Trust

is not the successor to the individual claims of creditors, as the Bankruptcy Court recognized in

the Abstention and Clarification Opinions. Rather, these prior decisions "required Maxus' s

                                                  11
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 12 of 18 PageID #: 140



creditors to defer to the Debtor" with respect to the pursuit of their claims seeking to impose the

Debtors' debts on YPF or Repsol. (Op. at 3). This is consistent with Third Circuit' s decision in

Emoral, which held that, if a claim against a shareholder is "a general one, with no particularized

injury arising from it, and if that claim could be brought by any creditor of the debtor, the trustee

is the proper person to assert the claim, and the creditors are bound by the outcome of the

trustee' s action." Emoral, 740 F.3d at 883 . At issue in the Abstention and Clarification

Opinions were Occidental' s asserted individual claims for Maxus' s breach of its contractual

indemnity obligations to Occidental, which Occidental interposed derivatively against YPF and

Repsol as alleged alter egos. (Abstention Op. at 115). Occidental' s claims, however, alleged

general alter ego conduct that harmed not only Occidental but the Debtors and the Debtors' other

creditors. (Id. at 15). Accordingly, the "generalized harm" entailed by the alleged alter ego

conduct made Occidental' s claims an estate claim under existing Third Circuit precedent. (Id. at

12).

       Moreover, the Trust argues, a collective proceeding is the very result that YPF advocated

for in order to forestall Occidental' s trial in the New Jersey Litigation. YPF asserted that the

Debtors owned the claims that YPF sought to settle, not Occidental. (Occidental Adv. D.I. 33 , ~

2 (opposing Repsol ' s remand motion and arguing that, post-petition, "creditors [like Occidental]

lack standing to assert claims that are ' property of the estate,"' and that "if a claim is a general

one, with no particularized injury arising from it, that may be asserted by any creditor, only a

debtor' s estate may bring it."). YPF now seeks to argue that having one debtor seek to recover

for the generalized harms runs afoul of Caplin' s holding that a trustee does not have standing to

sue on behalf of individual creditors. The Trust argues that YPF should be judicially estopped

from taking that position, having previously prevailed on its prior, contrary arguments before the

Bankruptcy Court. (See D.I. 7 at 14; see also In re Kane, 628 F.3d 631 , 638 (3d Cir. 2010)

                                                  12
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 13 of 18 PageID #: 141



("(A]bsent any good explanation, a party should not be allowed to gain an advantage by

litigation on one theory, and then seek an inconsistent advantage by pursuing an incompatible

theory."); In re Armstrong World Indus. , 432 F.3d 507, 517 (3d Cir. 2005) Gudicial estoppel

"protect( s] the judicial process by preventing parties from deliberately changing positions

according to the exigencies of the moment") (internal quotations omitted).

       This issue is not appropriate for interlocutory review. First, the cases cited by Defendants

are distinguishable or inapposite. The sole issue in Caplin was whether a bankruptcy trustee had

standing to assert, on behalf of holders of debentures issued by the debtor, claims of misconduct

by the indenture trustee. Caplin, 406 U.S. at 416. Unlike this case, the Court in Caplin held that

the claim against the indenture trustee was property of the debenture holders, not of the estate,

and thus was not subject to the trustee' s mandate to collect and reduce to money the property of

the estate. Caplin did not involve allegations that the indenture trustee was an alter ego of the

Debtors. Id. at 434. Similarly, Defendants' reliance on Marion is misplaced. Marion v. TD!,

Inc. , 591 F .3d 13 7 (3d Cir. 2010). The Court in Marion determined that a receiver had standing

to bring claims against insiders based on their role in a Ponzi scheme that harmed a corporation

through which the scheme was run. The Marion Court noted, "A receiver no doubt has standing

to bring a suit on behalf of the debtor corporation against third parties who allegedly helped that

corporation' s management harm the corporation," and the receiver's "theory of injury finds

support in the law of our Court." Id. at 148-49. These cases do not establish substantial ground

for a difference of opinion that would justify interlocutory appeal. The judicial estoppel issue

further supports the Court' s decision that this issue is not appropriate for interlocutory review.

               3.      Statute of Limitations Issue

       Defendants argue that the Bankruptcy Court created new law on state statutes of

limitations as they apply to fraudulent conveyance claims. Defendants contend that the

                                                  13
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 14 of 18 PageID #: 142



Bankruptcy Court erred when it determined that, based on the facts alleged in the Complaint, the

Trust could potentially "expand the applicable 4-year statute of limitations for separate and

distinct transfers that occurred from 1996 to 2009 all the way to the 2016 Petition Date to make it

a 20-year statute of limitations when not a single factor considered by courts in the Third Circuit

... is applicable here." (YPF Mot. at 13). Defendants argue that the Bankruptcy Court

incorrectly reached its result by "collaps[ing] various transactions that occurred over two decades

for the purpose of allowing the Trust to avoid the application UFT A statute of limitations

period." (Repsol Mot. at 13). Defendants each label the ruling as "unprecedented." (YPF Mot.

at 14-15; Repsol Mot. at 15).

       To be appropriate for interlocutory appeal, the difference of opinion must arise out of

genuine doubt as to the correct legal standard. In determining not to dismiss the bulk of the

fraudulent conveyances that form the basis of the Complaint, the Bankruptcy Court determined

that the Trust had alleged facts sufficient to support a plausible theory that would expand the

statute of limitations under the Tronox collapsing doctrine. (Op. at 9-10 (citing Tronox, 503 B.R.

at 268 (examining fraudulent transfers "for their substance, not their form," and holding that

"[w]here a transfer is only a step in a general plan, the plan must be viewed as a whole with all its

composite implications."))). In Tronox, the bankruptcy court determined, at the trial stage, that it

was appropriate to collapse the transactions and apply the statute of limitations from the last act.

        Here, the Complaint presented particularized allegations and evidence that the transfers at

issue were part of a coordinated strategy to insulate the transfers from judicial review by

intentionally running out the limitations clock with alter ego control over the Debtors through the

Petition Date. The cases cited by Defendants do not hold that the collapsing doctrine cannot be

used for purposes of starting the clock for statute of limitations purposes. As the Trust correctly

points out, when to start the limitations clock on a fraudulent conveyance claim is a fact-

                                                   14
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 15 of 18 PageID #: 143



intensive inquiry that is typically decided at the summary judgment or trial stage. See, e.g.,

Tronox, 503 B.R. at 270 (collapsing transactions from the last act at the trial stage); In re Nat'!

Forge Co., 344 B.R. 340, 343 (W.D. Pa. 2006) (collapsing the transactions at the summary

judgment stage); In re Fundamental Long Term Care , Inc., 507 B.R. 359, 383-84 (Bankr. M.D.

Fla. 2014) (after motion to dismiss stage, with proper proof, court would collapse the

transactions, such that fraudulent transfer claims would be timely). Here, the Bankruptcy Court

determined that the facts alleged in the Complaint supported a plausible theory that would

expand the statute of limitations under Tronox. (Op. at 9-10). Defendants disagree not with the

legal standard but with its application to the allegations in this Complaint. Fact-intensive inquiry

is not appropriate for interlocutory appeal.

       In support of their argument that the appeal presents a controlling question of law,

Defendants cite the factors that courts in the Third Circuit have analyzed when determining

whether to collapse multiple transactions into a single "transfer": (i) whether all of the parties

involved had knowledge of multiple transactions; (ii) whether each transaction would have

occurred on its own; and (iii) whether each transaction was dependent or conditioned on other

transactions. (See YPF Mot. at 13; Repsol Mot. at 12-13). YPF argues that none of these factors

can apply to it because it could never have foreseen that Repsol would acquire YPF in 1999.

(YPF Mot. at 13). Repsol makes the converse argument that collapsing cannot apply to it

because "Repsol was not involved in either the creation or completion of the alleged ' single

integrated scheme."' (Repsol Mot. at 15).

        The Court agrees with the Trust that these arguments further demonstrate that the

purported controlling questions of law are really questions of fact that can only be resolved by

the Bankruptcy Court after a proper evidentiary record is laid. See Katz, 496 F.2d at 754 (leave

for interlocutory appeal may be denied for "entirely unrelated reasons such as ... the desire to

                                                  15
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 16 of 18 PageID #: 144



have a full record before considering the disputed legal issue."); Turner v. Frascella Enters. (In

re Frascella Enters.), 388 B.R. 619, 623-24 (Bankr. E.D. Pa. 2008) ("It is without question that

issues of fact are not an appropriate basis for an interlocutory appeal.") As such, the Bankruptcy

Court's statute of limitations ruling does not meet the criteria for interlocutory review.

       B.      Whether Immediate Appeal Will Materially Advance Termination of
               Litigation

       Even assuming any of these issues met the " controlling question of law" standard, leave

to appeal still must be denied as the issues identified by Defendants do not meet the other criteria

of§ 1292(b). Defendants argue that reversal by this Court would result in the dismissal of all, or

virtually all, of the Trust' s claims. (YPF Mot. at 8). The Trust argues that granting leave to

appeal will not obviate the underlying litigation because the Trust has unchallenged claims

against Defendants that will continue regardless of an immediate appeal.

       The Court agrees with the Trust. Even if Defendants obtained a reversal of the portions

of the Opinion they have identified, the remaining litigation will continue on in substantially the

same form, as the Trust' s claims for unjust enrichment, civil conspiracy, and the associated veil

piercing claim would remain. While Defendants do challenge the unjust enrichment claim on

statute oflimitations grounds, reversal of the Bankruptcy Court's Tronox-based holding would

not be dispositive, as "unusual or extraordinary circumstances [may] warrant deviating from the

analogous limitations period" for unjust enrichment claims. Pulieri v. Boardwalk Props. , LLC,

No. 9886-CB, 2015 Del. Ch. LEXIS 37, at *38 (Del. Ch. Feb. 18, 2015). Defendants do not

challenge that the Complaint sets forth adequate factual allegations to support those claims, as

those claims have not been challenged in the Motions for Leave or in motion to dismiss filed in

the Adversary Proceeding. Discovery on these remaining claims likely will be substantially

similar in scope to the discovery on the alter ego and fraudulent conveyance claims. An

interlocutory appeal should not be allowed if it "will not advance the overall progress of the
                                                 16
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 17 of 18 PageID #: 145



[adversary] action, which consists of [additional] claims" unaffected by the appeal. In re

Greenfield Energy, 2017 WL 6524525 , at *6 (D. Del. Dec. 21 , 2017). Under these

circumstances, an immediate appeal of one or all of these issues "would only promote piecemeal

determination of the questions raised in the adversary action and would likely create unnecessary

delay." AE Liquidation, 451 B.R. at 348.

       C.      Whether Exceptional Circumstances Justify Immediate Appeal

       Because an interlocutory appeal represents a deviation from the basic judicial policy of

deferring review until after the entry of final judgment, the party seeking leave to appeal an

interlocutory order must also demonstrate that exceptional circumstances exist. See In re

Advanced Marketing Services, Inc. , 2008 WL 5680878 (D. Del. Apr. 3, 2008). "Interlocutory

appeal is meant to be used sparingly and only in exceptional cases where the interests cutting in

favor of immediate appeal overcome the presumption against piecemeal litigation." AE

Liquidation, 451 B.R. at 349 (internal quotation marks omitted).

       Defendants fail to present exceptional circumstances justifying the need for immediate

review. YPF argues that the Interlocutory Order "disregards well-established law in a case that

seeks recovery against foreign-owned entities for up to $14 billion of environmental harm that

they indisputably did not cause," that the Opinion was decided "without clear reasoning," and

that the "unprecedented ruling has enormous consequences for a foreign government." (See YPF

Mot. at 16). Repsol argues that "the Bankruptcy Court' s failure to eliminate meritless claims is

an obstacle to meaningful settlement negotiations." Repsol argues that if the Opinion and

Interlocutory Order are " [l]eft unrefined," then "productive settlement discussions and a

termination of the litigation are unlikely." (Repsol Mot. at 16-17). That the quantum and

relative shares of Defendants' liability remain open questions does not, according to the Trust,

constitute an adequate justification to grant the extraordinary remedy of an interlocutory appeal.

                                                 17
Case 1:19-mc-00051-RGA Document 10 Filed 09/12/19 Page 18 of 18 PageID #: 146



Here, the Trust argues, all of the parties to the litigation are sophisticated parties fully capable of

assessing the strengths and weaknesses of their legal positions and factoring them into settlement

discussions, regardless of whether the Court allows an immediate appeal. (D.I. 7 at 20).

       The Court agrees with the Trust. The potential to facilitate settlement is not a controlling

contention for§ 1292(b) certification. See Piazza v. Major League Baseball, 836 F. Supp. 269,

272 n.7 (E.D. Pa. 1993). Even assuming the litigation ultimately has enormous consequences for

a foreign government, the Court finds no lack of clear reasoning in the Bankruptcy Court's

Opinion. In sum, the Court does not find any "circumstance or reason that distinguishes this case

from the procedural norm and establishes the need for immediate review." In re Magic Rests.,

Inc., 202 B.R. 24, 26-27 (D. Del. 1996).

IV.     CONCLUSION

       For the reasons explained above, Defendants have not met the factors of§ 1292(b), and

the Court will deny the Motions for Leave to Appeal the Interlocutory Order. A separate order

shall be entered.




                                                  18
